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                             UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION
IN RE:
ANDRE BEAUHARNAIS
MARIE BEAUHARNAIS,                                         CASE NO.: 10-36945-AJC
                                                           CHAPTER 7


                          Debtors.
                                                     /

                      MOTION FOR RELIEF FROM AUTOMATIC STAY

                     NOTICE OF OPPORTUNITY TO OBJECT AND FOR HEARING
PURSUANT TO LOCAL RULE 4001-1(C), THE COURT WILL CONSIDER THIS MOTION,
OBJECTION, OR OTHER MATTER WITHOUT FURTHER NOTICE OR HEARING UNLESS A PARTY
IN INTEREST FILES AN OBJECTION WITHIN FIFTEEN (15) DAYS FROM THE DATE OF SERVICE
OF THIS PAPER. IF YOU OBJECT TO THE RELIEF REQUESTED IN THIS PAPER, YOU MUST FILE
YOUR OBJECTION WITH THE CLERK OF THE COURT AT CLAUDE PEPPER FEDERAL
BUILDING, 51 SOUTH WEST 1ST AVENUE, MIAMI, FL 33130, AND SERVE A COPY ON THE
MOVANT’S ATTORNEY, ANDREW L. FIVECOAT, ALBERTELLI LAW, PO Box 23028, TAMPA, FL
33623.

IF YOU FILE AND SERVE AN OBJECTION WITHIN THE TIME PERMITTED, THE COURT WILL
SCHEDULE A HEARING AND YOU WILL BE NOTIFIED. IF YOU DO NOT FILE AN OBJECTION
WITHIN THE TIME PERMITTED, THE COURT WILL CONSIDER THAT YOU DO NOT OPPOSE
THE GRANTING OF THE RELIEF REQUESTED IN THE PAPER, WILL PROCEED TO CONSIDER
THE PAPER WITHOUT FURTHER NOTICE OR HEARING, AND MAY GRANT THE RELIEF
REQUESTED.

NEGATIVE NOTICE:
This negative notice shall expires ten (10) days after the 341 meeting in order to allow the Trustee to conduct the
341 meeting. The 341 Meeting is scheduled for 10/18/10.

TO THE HONORABLE JUDGE OF SAID COURT:

        SECURED CREDITOR, ONEWEST BANK, FSB (“MOVANT”), by and through its
undersigned attorney, hereby Moves for Relief from the Automatic Stay pursuant to 11 USC
§362(d), and in support states as follows:
1. On September 8, 2010, the above Debtor filed a Voluntary Petition for Relief pursuant to
    Chapter 7 of the United States Bankruptcy Code.
2. Jurisdiction in this cause is granted to the Bankruptcy Court pursuant to 28 USC §1334 and
    11 USC §362, and all other applicable rules and statutes affecting the jurisdiction of the
    Bankruptcy Court generally.
3. On August 27, 2006, Debtor(s) Andre J Beauharnais and Marie Beauharnais, executed and
    delivered a promissory note and a mortgage securing payment of the note to IndyMac Bank,
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   F.S.B., a federally chartered savings bank. The property described in the mortgage then
   owned by and in possession of the mortgagor. See attached Exhibit “A” and “B.”
4. The mortgage secures the following real property located in Miami-Dade County,
   FLORIDA, to wit:
Lot 17, Block 1, Gregory Heights, according to the plat thereof, as recorded in Plat Book
49, Page 75, of the Public Records of Miami-Dade County, Florida.

a/k/a: 1575 Northwest 124th Street, North Miami, FL 33176
5. The MOVANT respectfully requests that the Court grant it relief from the Automatic Stay in
   this cause pursuant to §362(d)(1) of the Bankruptcy Code, for cause, namely the lack of
   adequate protection to Movant for its interest in the above stated collateral. The value of the
   collateral is insufficient in and of itself to provide adequate protection which the Bankruptcy
   Code requires to be provided to the MOVANT.
6. In support of this Motion for Relief from Automatic Stay, under §362(d) of the Bankruptcy
   Code, MOVANT would show that it would be inequitable to permit the debtor to retain the
   collateral, that there is no equity in the collateral and that said collateral is not necessary for
   an effective reorganization of the Debtor(s).
7. MOVANT submits that lack of adequate protection in this cause is the appropriate ground for
   relief which Movant seeks under §362(d), and that the possible existence of equity over and
   above the indebtedness, which MOVANT denies exists, would not, even if it did exist,
   constitute adequate protection as contemplated by the Bankruptcy Code.              Additionally,
   Movant would show that its indebtedness continues to accrue interest which Debtor(s) enjoy
   the benefit of the collateral without following the requirements of the Bankruptcy Code.
8. MOVANT is receiving no payments from Debtor(s) to protect Movant against the erosion of
   its collateral position and MOVANT is not otherwise protected.
9. If MOVANT is not permitted to enforce its security interest in the collateral or provided with
   adequate protection, it will suffer irreparable injury, loss and damage.
10. The unpaid principal balance due is in the amount of $171,611.58.
11. The total prepetition amount due is $175,365.94.
12. The total post-petition amount due is $1,355.35.
13. The contractual due date is July 1, 2010.
14. The value pursuant to the property record card attached is $76,351.00 and is attached to the
   Affidavit in Support of the Motion for Relief from Stay.
15. Movant’s post petition payment address is: One West, 6900 Beatrice Drive, Kalamazoo, MI
   49009.

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16. In Indebtedness worksheet is attached as Exhibit “C”.
17. The post-petition default worksheet is attached as Exhibit “D”.
18. The property is not claimed as exempt and the trustee has not abandoned the property.
19. Failed Bank Information is attached as Exhibit “E”.
         WHEREFORE, PREMISES CONSIDERED, MOVANT prays that the Debtor(s) be
cited to appear herein; that upon Final Hearing (if necessary) the Court enter an Order modifying
the Automatic Stay under 11 USC §362(d), to permit MOVANT to take any and all steps
necessary to exercise any and all rights it may have in the collateral described hereinabove, and
to gain permission of said collateral, together with such further relief and this Honorable Court
deems just and appropriate.
         I HEREBY CERTIFY that a true and correct copy of the foregoing was provided via
electronic and/or Regular U.S. Mail to the parties listed on the attached service list, this 5th day
of October, 2010.
         I HEREBY CERTIFY that I am admitted to the Bar of the United States Bankruptcy
Court for the Southern District of Florida, and I am in compliance with the additional
qualifications to practice in this Court set forth in the Local Rules.
10-52658 - SAC - B10001




SERVICE LIST

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                                             By: /s/ Andrew L. Fivecoat, Esq.
                                             Andrew L. Fivecoat, Esq.
                                             Florida Bar No.: 0122068




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